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                                                September 12,2018



Via ECF:

Honorable P. Kevin Castel,U.S.D.J.
United States District Court for the Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500Pearl St.
New York,NY 10007-1312

          Re:1:18-cv-05622-PKC Humane Consumer LLC v. COB Ecommerce Empire LLC
                                    et al.
Dear Judge Castel:

       We represent Plaintiffs in this matter and have appeared for COB Commerce Empire
LLC and Charles Crawford (“COB Defendants”). In the j     oint letter to the Court dated August
30,2018,in anticipation of the September 6initial conference,we advised that “Counsel for
COB Defendants has agreed to accept service of process by mail,while reserving all rights,and
Counsel for Plaintiff has agreed to extend the deadline for COB Defendants to respond to
the Complaint to October 1, 2018. It is respectfully requested that the Court grant and/or
so-order this extension of time for COB Defendants to respond to the complaint. No such
requests have been previously made.”(emphasis added)

        Since the initial conference was adj
                                           ourned to November 2,we were unable to address the
extension at the conference. Your Honor’s individual practices indicate such a request is made
by letter,so we would ask that this extension of time to respond to the complaint be “so
ordered.”




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      I also note that I will be in Portugal on business on November first,and either flying back
November 2or November 3,so would request that the initial conference be either November 5
or November 8or 9.

                                                    Respectfully submitted,

                                                    s/Steven M. Richman/
Cc:    Paul Siegert,Esq. (via ECF)
       Boris Brownstein,Esq. (via ECF)




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